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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA

_____________________________________________________________________________

UNITED STATES OF AMERICA,                                       Case No. CR 05-417 (RHK/SRN)

               Plaintiff,                                                  ORDER

               v.

RICHARD LOUIS ENNEN, III,

            Defendant.
_____________________________________________________________________________


       Defendant, RICHARD LOUIS ENNEN, III, by and through his attorney Barry V. Voss, Esq.,

having moved this Court ex parte for a one week extension to submit the defendant’s objection letter now

due on March 14, 2007, to March 21, 2007,

       IT IS HEREBY ORDERED:

       Defendant Ennen's objection letter to the presentence investigation report is due March 21, 2007.

               Dated this 16th day of March , 2007.

                                                       BY THE COURT:

                                                       s/Richard H. Kyle
                                                       The Honorable Richard H. Kyle
                                                       United States District Court
